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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

JOSEPH HARDESTY, ET AL.,                              :   Case No. 1:16-CV-00298
Individually and on behalf of All                     :
Others Similarly Situated                             :   Judge Matthew W. McFarland
                                                      :
                       Plaintiffs,                    :
                                                      :   PLAINTIFFS’ MOTION IN LIMINE
        v.                                            :   AS TO DOCUMENTS PRODUCED
                                                      :   THREE YEARS AFTER DISCOVERY
THE KROGER CO., et al.                                :   CUTOFF
                                                      :
                       Defendants.                    :


       Plaintiffs move for an Order in limine excluding Defendants’ Exhibits 44-55 under Fed R.

Civ. P. 37(c)(1); and any testimony related to these exhibits. The exhibits purport to be

performance evaluations for certain members of the collective for the years 2015 and 2016, which

were not produced by Defendant Kroger until February 21, 2022 (3 years after the Court’s

discovery deadline, and 3 weeks prior to trial). The exhibits are irrelevant, unfairly prejudicial, and

require exclusion under Fed. R. Civ. P. 37(c)(1).

       A Memorandum in Support and Affidavit of Counsel (Exhibit A) are attached.

                                               Respectfully submitted,

                                               /s/ Joshua M. Smith
                                               Peter A. Saba (0055535)
                                               Joshua M. Smith (0092360)
                                               Sharon Sobers (0030428)
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                                       MEMORANDUM IN SUPPORT
      I.       FACTUAL BACKGROUND

           In the first year of this litigation, Plaintiffs sent Defendant discovery requests for

“Performance appraisals for the Named Plaintiffs and all other individuals who have submitted

opt-in/consent forms for this lawsuit.” (See Exhibit A – Attachment 1).

           In Kroger’s initial discovery response dated September 09, 2016, they provided

performance appraisals for one collective member (Rhonda Furr) and responded, “Defendants

object to this Request to the extent it is vague and ambiguous. Subject to and without waiving the

foregoing objections, Defendants respond as follows: Defendants have produced and/or will

produce non-privileged, non-work-product responsive documents, to the extent such documents

exist.” (See Exhibit A – Attachment 2).

           Following that response, Kroger supplemented its discovery seven additional times ranging

from September of 2016 through January of 20191. (See Exhibit A – Attachment 3). In those

responses, Kroger provided two more opt-in Plaintiffs’ performance evaluations (Lawanna

Haskins and Jeremy Hadden). From that point until one week ago, no additional performance

reviews were produced.

           On February 21, 2022, five and a half years after the initial request, three years after

discovery cut-off, and three weeks before trial, Kroger produced 119 pages of additional

documents purporting to be the performance appraisals previously requested, all of which were

conducted during the course of litigation. Kroger claimed its failure to produce the documents was

due to an oversight. (See Exhibit A – Attachment 4). Kroger also implied that both parties were



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    Discovery ended January 7, 2019.

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to blame, claiming the failure “escaped both sides” (despite such documents clearly being in the

possession and control of Kroger) and that the plaintiffs should have been aware of their existence.

See Id.

   II.       LAW AND ARGUMENT

   A. Rule 37(c)(1) Exclusion
          The exclusion of undisclosed evidence "is automatic and mandatory under Rule 37(c)(1)

unless non-disclosure was justified or harmless." Dickenson v. Cardiac & Thoracic Surgery of E.

Tenn, P.C., 388 F.3d 976, 983 (6th Cir. 2004); See also, Fed. R. Civ. P. 37(c)(1)(“[i]f a party fails

to provide information or identify a witness as required by Rule 26(a) or (e), the party is not

allowed to use that information or witness to supply evidence . . . at a trial, unless the failure was

substantially justified or is harmless.”). The automatic exclusion of the documents is especially

the case when such documents are produced on the eve of trial. See, e.g., Johnson v. UPS, 236

F.R.D. 376, 377-78 (E.D. Tenn. 2006) (“cannot reasonably, in the two weeks between the

disclosure and trial, investigate and conduct discovery on the issues raised by the new

documents.”); Cannon v. Licking Cnty., No. 2:17-cv-00004, 2019 U.S. Dist. LEXIS 184681, at *4

(S.D. Ohio Oct. 25, 2019) (“because the tests were provided to Plaintiff so close to trial it is an

unfair to expect Plaintiff to be able to adequately prepare for trial with respect to these documents.

Therefore, the lack of timely disclosure is not harmless"); Fettes v. City of Cambridge, No. 2:06-

cv-429, 2010 U.S. Dist. LEXIS 163923, at *5 (S.D. Ohio Aug. 12, 2010) (Judge excluded exhibits

under Fed. R. Civ. P. 37(c)(1) because they were only provided thirty days before trial).

          Here, Kroger not only failed to timely supplement its discovery responses, but they also

failed to do so for over five years and then attempted it three years after the discovery cutoff and

three weeks before trial. In those circumstances, the evidence should automatically be excluded

from trial without further consideration. See Id.; Dickenson, 388 F.3d at 983.

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       Despite Rule 37(c)(1)’s automatic exclusion, Courts can permit late production when the

late-producing party shows their failure was substantially justified or harmless. Factors to consider

in making this determination include:

       (1)     the surprise to the party against whom the evidence would be offered;

       (2)     the ability of that party to cure the surprise;

       (3)     the extent to which allowing the evidence would disrupt the trial;

       (4)     the importance of the evidence; and

       (5)     the non-disclosing party's explanation for its failure to disclose the evidence.

Howe v. City of Akron, 801 F.3d 718, 748 (6th Cir. 2015). In these circumstances, the non-

complying party has the burden of proving harmlessness. United States ex rel. TVA v. 1.72 Acres

of Land, 821 F.3d 742, 752 (6th Cir. 2016).

       Here, Kroger cannot meet their burden to prove that the failure was substantially justified

or harmless, even if this Court were to consider it. First, it is beyond dispute that Kroger outright

surprised the Plaintiffs with over 100 pages worth of performance reviews three weeks before trial.

The Plaintiffs requested these documents several years ago, and Kroger continued to provide

responsive documents but failed to turn these performance appraisals over without excuse.

       Second, Plaintiffs will have little to no opportunity to analyze such documents given how

close the parties are to trial, let alone time to adequately investigate them. And, of course, there is

no opportunity to conduct discovery on the documents, including questioning Kroger witnesses

about them in deposition. See, Johnson, 236 F.R.D. at 377-78 (a party “cannot reasonably, in the

two weeks between the disclosure and trial, investigate and conduct discovery on the issues raised

by the new documents.”); Cannon, No. 2:17-cv-00004, 2019 U.S. Dist. LEXIS 184681, at *4

(“because the tests were provided to Plaintiff so close to trial it is an unfair to expect Plaintiff to



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be able to adequately prepare for trial with respect to these documents. Therefore, the lack of

timely disclosure is not harmless"); Fettes, No. 2:06-cv-429, 2010 U.S. Dist. LEXIS 163923, at *5

(Judge excluded exhibits under Fed. R. Civ. P. 37(c)(1) because they were only provided thirty

days before trial).

        Third, these documents are entirely disruptive to the trial because Plaintiffs’ counsel will

need to discuss the production with each collective member, reassess their witnesses, and

potentially re-open discovery to ask other witnesses about the performance reviews. See Id. That

is not an outcome that Plaintiffs, the Court, or even Defendants should desire, and weighs against

permitting the late-produced exhibits.

        Fourth, these documents are not important nor necessary to the case. This is a collective

action regarding a group of employees; the actual “day-to-day” job duties they performed, and

Kroger’s failure to compensate them for the hours they worked are what are at issue, not

management’s reviews of the Plaintiffs’ performance. Cf. Howe v. City of Akron, 801 F.3d. at 749

(the fourth element was met because the “evidence was crucial to establishing an accurate back-

pay award”). There will be live testimony from class members about their day-to-day duties and

hours worked, and also documentary evidence of the same (training documents, job descriptions,

phone records, etc.). Performance reviews and evaluations plainly have no effect on whether an

employee worked a given number of hours or whether he is exempt or non-exempt.

        Fifth and finally, Kroger’s explanation for its failure is oversight; however, oversight for

over five years is simply not justifiable. Otherwise, any party could have an “oversight” and then

produce a document to the opposing party weeks before trial. Kroger’s failure to supplement a

request for production is their own burden to bear at trial, not the Plaintiffs.




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       As such, Plaintiffs respectfully request that the Court exclude evidence or testimony

relating to documents produced on February 21, 2022, relating to Plaintiffs’ performance

evaluations based on Federal Rule of Civil Procedure 37(c)(1).

   B. Rule 401 and 403 Exclusion
       Even if this Court finds that the Defendant's failure to supplement those performance

appraisals was substantially justified and harmless, the Court should still exclude this evidence

based upon Fed. R. Evid. 401 and 403, given they are not only irrelevant, but also unfairly

prejudicial.

   Fed. R. Evidence 401 states, “evidence is relevant if:

   (a) it has any tendency to make a fact more or less probable than it would be without
       the evidence; and

   (b) the fact is of consequence in determining the action.”
Fed. R. Evidence 403 states, “The court may exclude relevant evidence if its probative value is

substantially outweighed by a danger of one or more of the following: unfair prejudice, confusing

the issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence.”

       Here, performance appraisals do not help to prove or disprove an employee’s exemption

status from the Fair Labor Standards Act. These documents do not determine if the employees

worked overtime, nor do they show whether Plaintiffs’ primary job duties (screening and

scheduling) constitute exempt work. Therefore, they provide no relevant value.

       Further, even if the documents at issue have some minimal relevance, they are unfairly

prejudicial to the Plaintiffs, given they explicitly discuss performance, including positive and

negative. With respect to negative reviews, introduction of the same risks the jury weighing those



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against a Plaintiffs’ claims for overtime compensation, despite the fact that poor performance

makes no difference as to the Plaintiffs’ entitlement to compensation.

          Thus, beyond the fact that the documents are subject to automatic exclusion under the civil

rules, they should also be excluded under Rule 401 and 403.

   III.      CONCLUSION

          For the reasons set forth above, Plaintiffs respectfully request that the Court grant

Plaintiffs’ Motion in Limine as to Exhibits 44-55, and testimony relating to those exhibits.

                                               Respectfully submitted,

                                               /s/ Joshua M. Smith
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                                               Joshua M. Smith (0092360)
                                               Sharon Sobers (0030428)
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                                  CERTIFICATE OF SERVICE

        The undersigned does hereby certify that a true and accurate copy of the foregoing was
served electronically through the District Court’s electronic case filing system upon David K.
Montgomery, Esq. and Ryan M. Martin, Esq., Jackson Lewis P.C., PNC Center, 26th Floor, 201
East Fifth Street, Cincinnati, Ohio 45202, this 28th day of February 2022.

                                               /s/ Joshua M. Smith
                                               Joshua M. Smith (0092360)




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